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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

REBECCA FRISKE,

               Plaintiff,                                     Case Number 16-12799
v.                                                            Honorable David M. Lawson

BONNIER CORPORATION,

               Defendant.
                                               /

      ORDER GRANTING IN PART AND DENYING IN PART JOINT MOTION FOR
     STATUS CONFERENCE AND TO STAY PENDING MOTIONS AND DEADLINES

       This matter is before the Court on the parties’ joint motion for a status conference and to

stay pending motions and deadlines. The motion indicates on January 3, 2019, the parties engaged

in settlement negotiations with the assistance of a professional mediator, and that the parties have

agreed to resolve the case on a classwide basis. In light of these developments, the parties request

that the Court adjourn the hearing on the motion to intervene by a putative class member (ECF

No. 40), as well as stay the deadline by which the defendant must respond to the plaintiff’s motion

for class certification, which is set for a hearing on February 20, 2019. The parties further request

that the Court schedule a status conference to discuss scheduling and other matters based on the

proposed settlement. The Court will grant the parties’ request for a status conference and to stay

the deadlines relating to the plaintiff’s pending motion for class certification. However, the parties

have not explained how their proposed settlement affects the motion to intervene or stated any

legitimate grounds for adjourning the hearing. The parties’ request therefore will be denied, and

the Court will hear oral argument on Monday, January 14, 2019 as scheduled.
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       Accordingly, the parties’ joint motion for status conference and to stay pending motions

(ECF No. 53) is GRANTED IN PART. The briefing schedule governing the plaintiff’s motion

for class certification (ECF No. 48) is STAYED pending further order of the Court.

       It is further ORDERED that counsel for the parties must appear in person for a status

conference in chambers on January 14, 2019 at 2:30 p.m.

       It is further ORDERED that the parties’ motion is DENIED in all other respects.

                                                                   s/David M. Lawson
                                                                   DAVID M. LAWSON
                                                                   United States District Judge

Date: January 11, 2019


                                         PROOF OF SERVICE

                      The undersigned certifies that a copy of the foregoing order was
                      served upon each attorney or party of record herein by
                      electronic means or first class U.S. mail on January 11, 2019.

                                                 s/Susan K. Pinkowski
                                                 SUSAN K. PINKOWSKI




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